      Case WVS/2:14-cv-17817
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                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                     CHARLESTON DIVISION


IN RE: AMERICAN MEDICAL SYSTEMS, INC.,
       PELVIC REPAIR SYSTEM
       PRODUCTS LIABILITY LITIGATION
                                                                                      MDL 2325


THIS DOCUMENT RELATES TO THE
CASE(S) IN THE EXHIBIT A ATTACHED HERETO


                                  INACTIVE DOCKET ORDER


       The court has been advised by counsel that in the case(s) listed on the attached Exhibit A,

the plaintiff(s) and American Medical Systems, Inc., (“AMS”) have reached a settlement with

regard to AMS. The court, therefore, finds it unnecessary to conduct further proceedings or to

keep these cases on the active docket. Accordingly, the court ORDERS as follows:

       1.        All discovery deadlines are continued until further order of the court.

       2.        That the Clerk retire each of the cases listed on the attached Exhibit A from the

active docket.

       3.        Plaintiff(s) and AMS may submit an agreed order of dismissal with prejudice on

or before April 30, 2016; otherwise the cases on Exhibit A will be dismissed without prejudice.

       The court will reinstate any case on the attached Exhibit A to the active docket if one of

the parties shows good cause for such reinstatement.
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       The court DIRECTS the Clerk to file a copy of this order in MDL No. 2325 and in the

individual cases listed on the attached Exhibit A. The Clerk is further DIRECTED to send a

copy of this Order to counsel of record and any unrepresented party.




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                            EXHIBIT A – MILLER WEISBROD

   CIVIL ACTION                                       CASE NAME
   NUMBER (listed
numerically in ascending
        order)

    2:13-cv-23673          Norma DeMerchant v. American Medical Systems, Inc.
    2:13-cv-23677          Carole Beecham v. American Medical Systems, Inc.
    2:13-cv-23830          Ann Fullwood v. American Medical Systems, Inc.
    2:13-cv-23849          Nancy Lamm v. American Medical Systems, Inc.
    2:13-cv-23858          Sheri Tyree v. American Medical Systems, Inc.
     2:13-cv-2386          Linda Brookes v. American Medical Systems, Inc.
    2:13-cv-24585          Mary Ann Reyes v. American Medical Systems, Inc.
    2:13-cv-24839          Robin. L. Smith v. American Medical Systems, Inc.
    2:13-cv-25398          Tina Verrier v. American Medical Systems, Inc.
    2:13-cv-27060          Wanda Mahoney-Johnson v. American Medical Systems, Inc.
    2:13-cv-27073          Marlene Selzler-Gritzke v. American Medical Systems, Inc.
    2:13-cv-27083          Tammy Ward v. American Medical Systems, Inc.
    2:13-cv-27719          Cathy Lucas v. American Medical Systems, Inc.
    2:13-cv-27728          Violetta Gotsis v. American Medical Systems, Inc.
    2:13-cv-28872          Juana Salazar v. American Medical Systems, Inc.
    2:13-cv-29119          Francisca Hernandez v. American Medical Systems, Inc.
    2:13-cv-29536          Randi Stephens v. American Medical Systems, Inc.
    2:13-cv-29560          Patricia Pensis v. American Medical Systems, Inc.
    2:13-cv-30240          Beatrice Quintana v. American Medical Systems, Inc.
    2:13-cv-31319          Ann Marie Thompson v. American Medical Systems, Inc.
    2:13-cv-32715          Jean Worch, John Worch v. American Medical Systems, Inc.
    2:13-cv-33453          Jill Cole v. American Medical Systems, Inc.
    2:13-cv-33463          Eunice Dortch, Danny Gene Dortch v. American Medical Systems, Inc.
    2:14-cv-00153          Kimberly Miller v. American Medical Systems, Inc.
    2:14-cv-00219          Misty Nguyen v. American Medical Systems, Inc.
    2:14-cv-00581          Mary Brink v. American Medical Systems, Inc.
    2:14-cv-00956          Sonya Allen v. American Medical Systems, Inc.
    2:14-cv-01017          Teddy Drake v. American Medical Systems, Inc.
    2:14-cv-01113          Barbara Follis, George Follis v. American Medical Systems, Inc.
    2:14-cv-02606          Robin Maljevac, Michael Maljevic v. American Medical Systems, Inc.
    2:14-cv-02674          Natasha Petersen v. American Medical Systems, Inc.
    2:14-cv-02694          Julia Ramey v. American Medical Systems, Inc.
    2:14-cv-02894          Kelli Swails v. American Medical Systems, Inc.
    2:14-cv-02901          Opal Thomason v. American Medical Systems, Inc.
    2:14-cv-04791          Radonna Harper v. American Medical Systems, Inc.
     Case WVS/2:14-cv-17817
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 2:14-cv-05358       Tonia Weaver v. American Medical Systems, Inc.
 2:14-cv-09403       Laura Metzger v. American Medical Systems, Inc.
 2:14-cv-09448       Barbara Lambert v. American Medical Systems, Inc.
 2:14-cv-10685       Josseline Sluys v. American Medical Systems, Inc.
 2:14-cv-10687       Debra Sayers v. American Medical Systems, Inc.
 2:14-cv-10804       Amy Carr v. American Medical Systems, Inc.
 2:14-cv-10805       Sandra Bobeldyke v. American Medical Systems, Inc.
 2:14-cv-10806       Tina Jackson v. American Medical Systems, Inc.
 2:14-cv-10807       Aleta Moore v. American Medical Systems, Inc.
 2:14-cv-10971       Saveta Gega v. American Medical Systems, Inc.
 2:14-cv-10978       Ardith Heemskerk v. American Medical Systems, Inc.
 2:14-cv-10981       Hannah Gershon v. American Medical Systems, Inc.
 2:14-cv-11106       Tracey Ruckart v. American Medical Systems, Inc.
 2:14-cv-11121       Nellie Powell v. American Medical Systems, Inc.
 2:14-cv-11125       Connie Elston v. American Medical Systems, Inc.
 2:14-cv-11772       Janet Strawbridge, Charles Henry Strawbridge v. American Medical
                     Systems, Inc.
 2:14-cv-11793       Felicitas Lucio v. American Medical Systems, Inc.
 2:14-cv-11839       Geraldine Wheelright v. American Medical Systems, Inc.
 2:14-cv-12101       Desiree Dyer v. American Medical Systems, Inc.
 2:14-cv-12115       Leola M. Holden v. American Medical Systems, Inc.
 2:14-cv-12116       Debra J. Bridges v. American Medical Systems, Inc.
 2:14-cv-12676       Sheila O'Clair v. American Medical Systems, Inc.
 2:14-cv-13392       Vivian Pike v. American Medical Systems, Inc.
 2:14-cv-14492       Laura Reese v. American Medical Systems, Inc.
 2:14-cv-14529       Jennifer Dean v. American Medical Systems, Inc.
 2:14-cv-14538       Susan M. James v. American Medical Systems, Inc.
 2:14-cv-14921       Julia Carrero v. American Medical Systems, Inc.
 2:14-cv-15500       Andrea Sheffield v. American Medical Systems, Inc.
 2:14-cv-16543       Lissette Perez v. American Medical Systems, Inc.
 2:14-cv-16575       Janice Manis v. American Medical Systems, Inc.
 2:14-cv-17817       Jeanette Wilson v. American Medical Systems, Inc.
 2:14-cv-20329       Sandra Nido v. American Medical Systems, Inc.
 2:14-cv-24241       Darlene Watson v. American Medical Systems, Inc.
 2:14-cv-24336       Christina Jones v. American Medical Systems, Inc.
 2:14-cv-24821       Judy Pittman v. American Medical Systems, Inc.
 2:14-cv-25428       Regina Barnes v. American Medical Systems, Inc.
 2:14-cv-25931       Linda Keenan v. American Medical Systems, Inc.
